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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

ELLA CAINE, NISHA DHUNGANA SILWA,            §
JOSEPHINE     OGATO,    SHANTORIA            §
MOORE, FRANKLIN OKOH, CHYRSTAL               §
JEFFERSON, NARGAS SAYED, SHARAM              §
DALAWY,    KRISTY    ABERCROMBIE,            §            CIVIL ACTION NO. ____________
DARNIQUE ADAMS, DANIELLE GRANT,              §
KARAM DALAWY, ROLONDA MOORE,                 §
SHARON FERGUSON, NHU TRAN,                   §
ALYSSA DAVILA, ADRIAN JONES,                 §
ALISHA TERRY, AND MARI ISABEL,               §
                                             §
v.

EDUVISION, INC. (D/B/A ARIZONA
COLLEGE OF NURSING - DALLAS; AZC
EDUCATION, INC.; ARIZONA COLLEGE
DALLAS)

                          INDEX OF MATTERS BEING FILED

DOCUMENTS FILED IN STATE COURT ACTION, EXHIBITS B - L

EXHIBIT B – Docket Sheet

EXHIBIT C – Original Petition

EXHIBIT D – Notice of Dismissal for Want of Prosecution

EXHIBIT E – Letter

EXHIBIT F – Citation

EXHIBIT G – Notice of Nonsuit

EXHIBIT H – Signed Order of Dismissal

EXHIBIT I – Motion to Retain

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EXHIBIT L – Notice of Dismissal for Want of Prosecution

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                                EXHIBIT A
